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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

In re:

160 Royal Palm, LLC,                                  Case No. 18-19441-EPK

      Debtor.                                         Chapter 11
_____________________________/

          CROSS-NOTICE OF TAKING DEPOSITION OF MARIA MATTHEWS

         The EB-5 Investors1, through their undersigned counsel David J. George, hereby give

notice that they shall depose Maria Matthews (the "Deponent") under oath on Monday,

November 26, 2018 at 9:00 a.m. at the offices of Shraiberg, Landau & Page, P.A., 2385 NW

Executive Center Drive, Suite 300, Boca Raton, FL 33431, Tel. 561-443-0800..

         The examination may continue from day to day until completed.

         If the Deponent requires an interpreter, it is the Deponent’s responsibility to engage the

employment of such interpreter to be present at the examination. The examination is being

conducted pursuant to Rule 45 of the Federal Rules of Civil Procedure, and will be taken before

an officer authorized to record the testimony. The scope of the examination shall be as described

in Rule 45 of the Federal Rules of Civil Procedure.


1
  LAN LI, YING TAN, TAO XIONG, JUNQIANG FENG, RAN CHEN, XIANG SHU, HAO
LOU, XIANG CHUNHUA, KUANG YAOPING, BEI ZHU, QIONG DENG, QIONGFANG
ZHU, ZHILING GAN, CUILIAN LI, YULONG TANG, LILI ZHANG, SHUANGYUN
WANG, WENHAO ZHANG, SHA SHI, LIYAN FENG, SHAOQING ZENG, MIN CUI, RUJI
LI, QINGYUN YU, LING LI, YINGJUN YANG, BAOPING LIU, DAQIN WENG,
SHAOPING HUANG, YI ZHAO, CHANGYUE LIU, YAJUN KANG, CHENGYU GU, YAN
CHEN, DONGSHENG ZHU, RUJING WEI, ZHAOHUI LI, JUEWEI ZHOU, MIN LI,
CHUNNING YE, HONGRU PAN, FENG GUO, ZHENG YU, TINGTING SUN, XIAO SUN,
YAWEN LI, TONGHUI LUAN, LI ZHANG, YUANBO WANG, SHU JIANG, YING FEI, LI
DONGSHENG, TANG CHEOK FAI, XIAONAN WANG ,MOHAMMAD ZARGAR,
SHAHRIAR EBRAHIMIAN, REZA SIAMAK NIA, SARA SALEHIN, SANAZ SALEHIN,
ALI ADAMPEYRA MOHAMMADREZA SEDAGHAT and HALIL ERSEVEN
{1902/000/00321340}              1
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                               ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the pro hac vice admission

qualifications to practice in this Court set forth in Local Rule 2090-1(B). See ECF No. 298.

                                             Respectfully Submitted,

                                             Pro Hac Vice Counsel for EB-5 Investors
                                             George Gesten McDonald, PLLC
                                             George Gesten McDonald, PLLC
                                             9897 Lake Worth Road, Suite 302
                                             Lake Worth, FL 33467
                                             Telephone: (561) 232-6002
                                             Facsimile: (888) 421-4173
                                             Email: dgeorge@4-Justice.com
                                             Email: eservice@4-Justice.com

                                             By: ____/s/ David J. George___
                                             David J. George
                                             Florida Bar No: 898570




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

Notice of Electronic Mail through the Case Management/Electronic Case Filing to those parties

registered to receive electronic notices in this case on November 25, 2018. Additionally, the

foregoing document was emailed on November 25, 2018 to Christopher Kammerer, Esq., at

ckammerermariani.com

                                          SHRAIBERG, FERRARA & LANDAU, P.A.
                                          Attorneys for the Debtor
                                          2385 NW Executive Center Drive
                                          Suite 300
                                          Boca Raton, Florida 33431
                                          Telephone: 561-443-0800
                                          Facsimile: 561-998-0047
                                          Email: ependergraft@slp.law

                                          By:    /s/ Eric Pendergraft
                                                 Eric Pendergraft
                                                 Fla. Bar No. 91927




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